                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:12-CR-00259-RJC-DCK

UNITED STATES OF AMERICA,                              )
                                                       )
               Plaintiff,                              )
                                                       )
   v.                                                  )         ORDER
                                                       )
WARREN F. TONSING, JR.,                                )
                                                       )
               Defendant.                              )
                                                       )

        THIS MATTER IS BEFORE THE COURT on the “Government’s Motion For

Passport” (Document No. 46) filed February 14, 2013. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, and noting no objection

from Defendant’s counsel, the undersigned will grant the motion.

        IT IS, THEREFORE, ORDERED that the “Government’s Motion For Passport”

(Document No. 46) is GRANTED.

        IT IS FURTHER ORDERED that Pretrial Services relinquish possession of Defendant

Tonsing’s passport to the Government to be held as evidence for trial.

        SO ORDERED.

                                           Signed: February 20, 2013




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